Case 1:03-md-01570-GBD-SN Document 4260-1 Filed 11/29/18 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

03 MDL 1570 (GBD) (FM)
In re Terrorist Attacks on
September 11, 2001

DECLARATION OF GEORGE R. SALEM

I, George R. Salem, declare as follows:

1. I am over 18 years of age and have personal knowledge of the information
contained in this declaration.

2, I am the founding member of the Law Offices of George R. Salem PLLC with
offices at 500 8th Street N.W. in Washington, D.C. 20004. My telephone number is 202-887-
1140, my facsimile number is 202-887-5550, and my email address is
gsalem@georgesalem.com.

3. I am attorney in good standing and licensed to practice law in the District of
Columbia, the State of Florida, and the State of Georgia.

4, I have never been convicted of a felony.

5. I have never been censured, suspended, disbarred, or denied admission or
readmission to the bar of any court or jurisdiction.

6. There are no disciplinary proceedings presently pending against me.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on November 29 4, 018 Kf.

( George R. Salem

